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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:

 COMMUNITY ENVIRONMENTAL CENTER,                          Chapter 11
 INC., d/b/a BUILD IT GREEN! NYC,
                                                          Case No. 15–41173 (CEC)
                                 Debtor.



          DECLARATION OF SANFORD P. ROSEN IN OPPOSITION TO
     MOTION OF UNITED STATES TRUSTEE TO DISMISS OR CONVERT CASE

Pursuant to 28 U.S.C. Section 1746, Sanford P. Rosen declares as follows:

               1.      I am the principal shareholder of Rosen & Associates, P.C. and have

knowledge and information about the Chapter 11 case of Community Environmental Center, Inc.,

d/b/a Build It Green! NYC, the above-captioned debtor and debtor in possession (the “Debtor”).

               2.      I submit this Declaration in opposition to the motion of the United States

Trustee to dismiss this case or, in the alternative, convert this case to one under Chapter 7 of the

Bankruptcy Code [Doc. No. 351] (the “Motion”).

               3.      As set forth in the Motion, on July 6, 2018, this Court approved a Stipulation

and Order Approving Mediated Global Settlement [Doc. No. 330] (the “Global Settlement

Order”). The Global Settlement Order provides for, among other things, the distribution of all

estate proceeds in accordance with the schedule appended thereto and the dismissal of the case.

               4.      Under the Global Settlement Order, I was designated as the Debtor’s escrow

agent to cause the distributions to be made and the release of any settlement documents to be

completed as provided therein. Furthermore, funds are to be received into and distributions are to

be made from the Debtor’s general operating account until there are no further funds remaining in
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the estate. To the extent of returned, or un-cashed distributions, I am required to re-allocate and

re-distribute funds pursuant to Exhibit C of the Global Settlement Order.

               5.     I caused all of the initial distributions to be made in accordance with the

terms of the Global Settlement Order.       At this time, there remains in the Debtor’s estate

approximately $64,000.00 to be re-distributed, and I am in the process of effectuating such

distributions. Once made, I shall settle a proposed order dismissing the case as contemplated by

the Global Settlement Order.

               6.     Upon information and belief, although monthly operating reports are

outstanding as alleged in the Motion, all quarterly fees due the United States Trustee have been

paid. The monthly operating reports are being completed and will be filed as soon as possible.

               7.     In light of the Debtor’s intention to consummate the transactions

contemplated by the Global Settlement Order, I respectfully request that the Court deny the Motion

and permit the case to be dismissed as provided in the Global Settlement Order.

               I declare under penalty of perjury that the information contained in this Declaration

is true and correct to the best of my knowledge.

Dated: New York, New York
       August 12, 2020


                                                       /s/ Sanford P. Rosen
                                                           Sanford P. Rosen




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